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                     EXHIBIT 2
      Bongiovi Dispute Resolutions LLC

                Practice Areas/Fees
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                    Select Page
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                          Practice Areas/Fees




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                                                         Areas/Fees | Bongiovi Filed 02/01/16 Page 3 of 5




                 The Firm and its Services and Fees

                 Mediation and Arbitration

                 Recognized by U.S. News and World Report as one of the “Best Law Firms” in
                 America, Bongiovi Dispute Resolutions is an ADR provider owned and operated by
                 Joseph J. Bongiovi III.

                 Mr. Bongiovi and Mrs. Erin Lee Truman make up BDR’s panel of neutrals. They
                 perform mediations, early neutral evaluations and arbitrations for cases and claims
                 in the following areas:

                     Personal Injury/Wrongful Death

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                     Insurance Coverage/Bad Faith
                     Product Liability
                     Professional Malpractice
                     Premises Liability
                     Commercial/Business
                     Real Estate
                     Intellectual Property
                     Employment


                 The only cases and claims not handled by BDR are domestic, construction defect
                 and foreclosure matters.


                 Fees
                 Mr. Bongiovi’s fee for mediation and arbitration is $500 per hour outside of New
                 York City. In New York City, the rate is $600 per hour. There are no administrative
                 fees in either instance.

                 For proceedings held outside Las Vegas, Mr. Bongiovi’s travel time is billed at $175
                 per hour and travel expenses and lodging are billed at cost.

                 Mrs. Truman’s fee for mediation and arbitration is $350 per hour. There are no
                 administrative fees.

                 For proceedings held outside Las Vegas, Mrs. Truman’s travel time is billed at $175
                 per hour and travel expenses and lodging are billed at cost.


                 Cancellations
                 For both Bongiovi and Truman, matters cancelled or continued within two weeks of
                 the scheduled date will be billed for the neutral’s time on the matter to date.




                   Administrative Office: 2807 Middle Earth Street Las Vegas, Nevada 89135 | Mediation/Hearing Office: 9510

                                            W. Sahara Avenue, Suite 225 Las Vegas, Nevada 89117




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                                      Telephone: (702) 889-4600 • Email: kathy@bongiovi.com • Fax: (702) 364-2092




                              Home           Practice Areas/Fees    Panel     Past Clients    Offices/Lodging     Briefing




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